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                     EXHIBIT 5
                  ADR Services, Inc.

Nevada Mediation & Arbitration Panel
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                                 NEVADA
  MEDIATION & ARBITRATION PANEL

                                            RETIRED JURISTS
                                           Hon. ROBERT LETTEAU (Ret.)
                                           Hon. LEONARD GANG (Ret.)
                                           Hon. ROBERT GASTON (Ret.)
                                           Hon. ENRIQUE ROMERO (Ret.)



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